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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
vy. 23-Cr-490 (SHS)
ROBERT MENENDEZ, NADINE MENENDEZ, ORDER
WAEL HANA, and FRED DAIBES,
Defendants.

SIDNEY H. STEIN, U.S. District Judge.

Pursuant to the Amended Standing Order of the Southern District of New York
entitled “In the Matter of Standardizing Dates for the Preparation of Pre-Sentence
Investigation Reports” dated May 29, 2014, the Probation Office filed its initial
disclosure of the Pre-Sentence Investigative Report (“PSR”) with the parties on
September 6, Menendez’s last date in which to file objections to that preliminary PSR
was September 20, more than one month ago. (See Amended Standing Order § (4).)
Despite requests from the Probation Officer assigned to this defendant, no objections
have been filed with the Probation Office to date. On Saturday, Menendez’s counsel
filed a request seeking yet additional time in which to file any objections. (ECF No. 624.)

Menendez is directed to provide the Probation Office with any objections to the
preliminary PSR by November 11. The dates set forth in the Court’s Order dated
September 23, 2024 (ECF No. 617) remain as set.

Dated: New York, New York
October 28, 2024

SO ORDERED:

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Sidney Stein, U.S.D_J.

